Case 2:21-cv-05400-GRB-LGD Document 71 Filed 09/06/24 Page 1 of 2 PageID #: 292




 Steven John Moser (SM1133)
 MOSER LAW FIRM, P.C.
 5 East Main Street
 Huntington, NY 11743
 (516) 671-1150
 steven.moser@moserlawfirm.com
 Attorneys for Plaintiff

                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NEW YORK
 JONATHAN BARAHONA and HECTOR
 HERNANDEZ,

                                             Plaintiffs,
                           v.                              Case No. 21-cv-05400 (GRB)(LGD)

 PARADISE TREE SERVICE & LANDSCAPE
 CORP. and WILLIAM NIETO,

                                           Defendants.


      PLAINTIFFS’ NOTICE OF MOTION TO STRIKE THE ANSWER OF THE
    DEFENDANT PARADISE TREE SERVICE & LANDSCAPE CORP. (“PARADISE”)
           AND FOR A DEFAULT JUDGMENT AGAINST PARADISE

        PLEASE TAKE NOTICE that, on a date and time to be determined by the Court, the

 undersigned, attorneys for plaintiffs Jonathan Barahona and Hector Hernandez shall move before

 the Honorable Gary R. Brown, United States District Judge, at the United States District Court,

 Eastern District of New York, 100 Federal Plaza, Central Islip, New York, 11717 for an order

 striking the answer of Defendant Paradise Tree Service & Landscape Corp. (“Paradise”) and

 entering default judgment against Paradise pursuant to Federal Rule of Civil Procedure 55(b)(2).

 In support of this motion, Plaintiffs submit the annexed Memorandum of Law, and the

 Declaration of Steven J. Moser, with exhibits thereto.

        A proposed order is annexed to this Notice of Motion.
Case 2:21-cv-05400-GRB-LGD Document 71 Filed 09/06/24 Page 2 of 2 PageID #: 293




 Dated: Huntington, New York
        August 9, 2024

                                    Respectfully submitted,
                                    MOSER LAW FIRM, P.C.




                                    Steven John Moser, Esq. (SM1133)
                                    5 East Main Street
                                    Huntington, NY 11743
                                    (516) 671-1150
                                    steven.moser@moserlawfirm.com
                                    Attorneys for Plaintiff
